EXHIBIT A
                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                    Debtors.1                          (Jointly Administered)

                                                                       Re Docket No. __


     ORDER EXTENDING EXCLUSIVE PERIODS TO FILE AND SOLICIT A PLAN

         Upon the motion (the “Motion”) of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”) extending by (a) ninety (90) days,

the Exclusive Filing Period, through and including March 6, 2024; and (b) by ninety-one (91)

days, the Exclusive Solicitation Period, through and including May 6, 2024, without prejudice to

the Debtors’ rights to seek further extensions, all as more fully set forth in the Motion; and the

United States District Court for the District of Delaware having jurisdiction over this matter

pursuant to 28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157 pursuant to

the Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and the Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2), and that the Court may enter a final order consistent with Article

III of the United States Constitution; and the Court having found that venue of this proceeding and

the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtors’ estates, their



1    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
     principal place of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street,
     Suite 100, Emeryville, CA 94608.



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creditors, and other parties in interest; and the Court having found that notice of and opportunity

for a hearing on the Motion were appropriate and no other notice need be provided; and the Court

having determined that the legal and factual bases set forth in the Motion establish just cause for

the relief granted herein; and upon all of the proceedings had before the Court; and after due

deliberation and sufficient cause appearing therefor, IT IS HEREBY ORDERED THAT:

          1.        The Exclusive Filing Period is extended through and including March 6, 2024.

          2.        The Exclusive Solicitation Period is extended through and including May 6, 2024.

          3.        The extension of the Exclusive Periods granted herein is without prejudice to such

further requests that may be made by the Debtors.

          4.        The Debtors are hereby authorized to take such actions and to execute such

documents as may be necessary to implement the relief granted by this Order.

          5.        This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




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